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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


                                                    Case No. 05-03817-3F1
In re:                                              Chapter 11
                                                    Jointly Administered
Winn-Dixie Stores, Inc., et al.
Reorganized Debtors.

_________________________________/


APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE STATUS FOR
          POST-PETITION CLAIM AND REQUEST FOR NOTICE
                          Carina Mendoza

         Comes now, CARINA MENDOZA, (“Applicant”) through the undersigned counsels, and

seeks administrative expense status for Applicant’s claim against one or more of the Debtors

pursuant to 11 U.S.C. § 503(b).       Applicant requests the entry of an order allowing the

administrative expense described below and directing the payment of such amount pursuant to

Order Confirming the Joint Plan of Reorganization of Winn-Dixie Stores, Inc. moves this Court

for entry of an Order in accordance with Section 12.1 othe Plan of Reorganization of Winn-Dixie

Stores, Inc. and Affiliated Debtors (the “Confirmation Order”) and the provisions of the Plan as

confirmed. In support of this Application, Applicant states as follows:

                                  JURISDICTION AND VENUE

         1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper pursuant to 28 U.S.C. § 157(b)(2).

                                  FACTUAL BACKGROUND
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          2.   Winn-Dixie Stores, Inc. et al. (the “Debtors”) filed their voluntary petitions for

relief under Chapter 11 of the Bankruptcy Code on or about February 21, 2005 (the “Petition

Date”).

          3.   After the Petition Date and on or about August 11, 2006 Applicant was injured at

the Winn-Dixie store number 0318 located at Key Biscayne Shopping Center, 604 Crandon

Blvd., Key Biscayne, FL 33149 as a proximate result of the negligence of the Winn-Dixie entity

operating the store in not keeping the floors reasonable safe. Upon information and belief, the

responsible Debtor is Winn-Dixie Stores, Inc. Ms. Mendoza suffered personal injuries as a

consequence of a slip and fall accident that occurred when she was walking in the store and she

slipped on wax that was negligently left on the floor. As a result of the accident, Ms. Mendoza

suffered injuries to her hips, waist, back, and left arm.

          4.   As a result of the injuries, Applicant has suffered damages totaling at least

$50,000.00, which damages Applicant can support through medical records and other proof.

Applicant’s damages may not be fully liquidated at this time.

                              APPLICANT’S CLAIM IS ENTITLED TO
                               ADMINISTRATIVE EXPENSE STATUS

          5.   Section 503(b) of the Bankruptcy Code provides for the allowance of

administrative expense status, and its attendant priority for payment, for the “actual, necessary

costs and expenses of preserving the estate…” 11 U.S.C. § 503(b). It is well-established that

personal injury claims arising from a post-petition tort committed by the debtor are entitled to

administrative expense status. See, Reading Co. v. Brown, 391 U.S. 471, 485 (post-petition fire

damages resulting from trustee’s negligence were entitled to administrative expense status); In re

Piper Aircraft Corp., 169 B.R. 766 (Bankr. S.D. Fla 1994).


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       6.      In this instance, Applicant’s claim arose as a result of the business operations of

one or more of the Debtors after the Petition Date but prior to the Confirmation Order. As such,

Applicant’s claim is entitled to administrative expense status under 11 U.S.C. § 503(b), and

Applicant seeks the entry of an order awarding such status.

                              REQUEST FOR FUTURE NOTICE

       Applicant requests that all future pleadings and notices regarding or affecting Applicant’s

claim be served upon:

               Ivette Gonzalez
               Law Offices of Ivette Gonzalez, P.A.
               2414 Coral Way
               Suite 202
               Miami, FL 33145


       WHEREFORE, based upon the foregoing, Applicant requests that the Court enter an

order granting the relief requested herein and such other relief as it deems just and proper.


                                                      Respectfully submitted,

                                                      /s/ Ivette Gonzalez
                                                      Ivette Gonzalez (FL Bar No. 0840661)
                                                      Ivette Gonzalez, P.A.
                                                      2414 Coral Way, Suite 202
                                                      Miami, FL 33145
                                                      Telephone: (305) 908-1305
                                                      Facsimile: (305) 908-1288




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 3, 2006 I filed this APPLICATION FOR

ALLOWANCE OF ADMINISTRATIVE EXPENSE STATUS FOR POSTPETITION

CLAIM AND REQUEST FOR NOTICE through the CM/ECF filing system, which will cause

a copy to be served on James H. Post, Esq., Counsel for the Reorganized Debtors; Matthew Barr,

Esq. and John MacDonald, Esq., Counsel for the Post-Effective Date Committee; Elena L.

Escamilla, Esq., Counsel for the Office of the United States Trustee and all other parties

participating in the CM/ECF System, all served electronically.


                                                    /s/ Ivette Gonzalez
                                                    IVETTE GONZALEZ




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